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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

MARSHALL MITCHELL, et al.,                          §
    Plaintiffs,                                     §
                                                    §
v.                                                  §
                                                    §       No. 1:17-CV-00457-SS
                                                    §
BRENT STROMAN, et al.,                              §
    Defendants.                                     §

                         DEFENDANTS SCHWARTZ AND FROST’S
                      DESIGNATION OF NEW ATTORNEY-IN-CHARGE

DATED: March 7, 2018

        Defendants Steven Schwartz and Christopher Frost notify the Court and all parties that this

case has been administratively reassigned within the Office of the Attorney General to Assistant

Attorney General Harold J. Liller, replacing Assistant Attorney General Christopher L. Lindsey as

attorney-in-charge. 1 All future pleadings, correspondence, and other documents in this case

should be forwarded to Assistant Attorney General Harold J. Liller, Administrative Law Division,

P.O. Box 12548, Capitol Station, Austin, Texas, 78711-2548.

                                                    Respectfully submitted,

                                                    KEN PAXTON
                                                    Attorney General of Texas

                                                    JEFFREY C. MATEER
                                                    First Assistant Attorney General

                                                    BRANTLEY STARR
                                                    Deputy First Assistant Attorney General

                                                    JAMES E. DAVIS
                                                    Deputy Attorney General for Civil Litigation

1
 This is not a substitution of Counsel; Counsel for Defendants Schwartz and Frost is and will remain the Attorney
General of Texas.
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                                           NICHOLE BUNKER-HENDERSON.
                                           Chief, Administrative Law Division


                                           /s/ Harold J. Liller
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                                           Attorneys for Defendants Steven Schwartz and
                                           Christopher Frost


                               CERTIFICATE OF SERVICE

       I hereby certify that the above Defendants Schwartz and Frost’s Designation of New

Attorney-in-Charge has been served upon all counsel of record via e-service and e-mail on March

7, 2018.

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                                          /s/ Harold J. Liller
                                          HAROLD J. LILLER
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